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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                          CASE NO. 2:11 CR 00096 JAM
12                               Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                         v.                           FINDINGS AND ORDER
14   MAURICIO PORTILLO,                                 DATE: January 6, 2015
                                                        TIME: 9:30 a.m.
15                               Defendant.             COURT: Hon. John A. Mendez
16

17                                              STIPULATION

18         1.      By previous order, this matter was set for status on January 6, 2015.

19         2.      By this stipulation, defendants now move to continue the status conference until January

20 20, 2015 at 9:30 a.m, and to exclude time between January 6, 2015, and January 20, 2015 at 9:30 a.m,

21 under Local Code T4.

22         3.      The parties agree and stipulate, and request that the Court find the following:

23                 a)     The government has represented that the discovery associated with this case

24         includes hundreds of pages of written reports, three data-intensive wiretap discs, and dozens of

25         images. All of this discovery has been either produced directly to counsel and/or made available

26         for inspection and copying.

27                 b)     Counsel for defendants desire additional time to consult with their respective

28         clients, review the evidence, and weigh the possibility of settlement.


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 1                  c)     Counsel for defendants believe that failure to grant the above-requested

 2          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3          into account the exercise of due diligence.

 4                  d)     The government does not object to the continuance.

 5                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 6          case as requested outweigh the interest of the public and the defendant in a trial within the

 7          original date prescribed by the Speedy Trial Act.

 8                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9          et seq., within which trial must commence, the time period of January 6, 2015 to January 20,

10          2015 at 9:30 a.m, inclusive, is deemed excludable pursuant to excluded under 18 U.S.C. sections

11          3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2 [complex case] and T4 [reasonable

12          time for defense counsel to prepare], because it results from a continuance granted by the Court

13          at defendants’ request on the basis of the Court’s finding that the ends of justice served by taking

14          such action outweigh the best interest of the public and the defendant in a speedy trial.

15          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

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     Dated: January 5, 2015                                   BENJAMIN B. WAGNER
20                                                            United States Attorney
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                                                              /s/ PAUL A. HEMESATH
22                                                            PAUL A. HEMESATH
                                                              Assistant United States Attorney
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25 Dated: January 5, 2015                                     /s/ DINA SANTOS
                                                              DINA SANTOS
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                                                              Counsel for Defendant MAURICIO PORTILLO
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 2                                       FINDINGS AND ORDER

 3        IT IS SO FOUND AND ORDERED this 5th day of January, 2015.

 4
                                                /s/ John A. Mendez
 5                                             THE HONORABLE JOHN A. MENDEZ
                                               UNITED STATES DISTRICT JUDGE
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     STIPULATION RE: SPEEDY TRIAL ACT;           3
     [PROPOSED] FINDINGS AND ORDER
